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 8                         UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
                                        )
10    Enerlites, Inc, et al,            )     SACV 18-00839-JVS(KESx)
                                        )
11                                      )     ORDER OF DISMISSAL UPON
                    Plaintiff,          )
12                                      )     SETTLEMENT OF CASE
            v.                          )
13                                      )
      Century Products, Inc, et al,     )
14                                      )
                    Defendant(s).       )
15                                      )
      ______________________________ )
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            The Court having been advised by the counsel for the parties that the above-
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      entitled action has been settled,
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             IT IS ORDERED that this action be and is hereby dismissed in its entirety
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      without prejudice to the right, upon good cause being shown within 45 days, to reopen
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      the action if settlement is not consummated.
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      DATED: May 13, 2019                            ___________________________
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                                                        James V. Selna
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                                                     United States District Judge
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